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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                      Plaintiffs,           )
                                            )                  4:05CR3060-2
              V.                            )
                                            )
FERNANDO NUNEZ,                             )
                                            )                     ORDER
                      Defendant.            )

       I have appointed Joe Gross to serve as stand-by counsel in this case. Mr. Gross has
provided me with a copy of a letter he sent to David Eaton. Among other things, Mr. Gross
advises Mr. Eaton that Mr. Gross found “no basis for Mr. Nunez to be justifiably dissatisfied
with the adequacy of [Eaton’s] counsel.” I will order that the letter be filed and made a
record but sealed. The letter will not be made available to counsel for the government.
Accordingly,

       IT IS ORDERED that:

       (1)    A copy of Mr. Gross’s letter dated April 30, 2007, tendered to the Clerk, shall
be filed under seal and not made available to counsel for the government.

       (2)    The parties and Mr. Gross are reminded that the court will conduct a hearing
regarding Mr. Eaton’s continued involvement as counsel, with sentencing to follow if
possible, on Tuesday, May 8, 2007, at 12:30 p.m. The defendant shall be present, along with
Mr. Gross, Mr. Eaton and Ms. Fullerton.

       May 2, 2007.                        BY THE COURT:

                                           s/ Richard G. Kopf
                                           United States District Judge
